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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
ORDER

16 Cr. 405 (LAK)
MI SOOK KIM,

Defendant.

WHEREAS, with the consent of defendant Mi Sook Kim, the
defendant’s guilty plea allocution was taken before a United States
Magistrate Judge on May 22, 2018;

WHEREAS a transcript of the allocution was made and
thereafter was transmitted to this Court; and

WHEREAS, upon review of that transcript, this Court has
determined that the defendant entered the guilty plea knowingly
and voluntarily and that there was a factual basis for the guilty
plea,

iT IS HEREBY ORDERED that the defendant’s guilty plea is
accepted.

SO ORDERED.

Dated: New York, New York
t , 2018

HONORABLE LEWIS A. KAPLAN
United States District Judge
Southern District of New York

 

 
